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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF PUERTO RICO

 OTO ANALYTICS, LLC,                              §
                                                  §
                   Plaintiff,                     §
                                                  §
                       v.                         §   Civil Action No. 23-01034
                                                  §
 BENWORTH CAPITAL PARTNERS PR                     §
 LLC, BENWORTH CAPITAL PARTNERS                   §
 LLC, BERNARDO NAVARRO and                        §
 CLAUDIA NAVARRO,                                 §
                                                  §
                   Defendants.


  DECLARATION OF ALEXANDER L. CHENEY IN SUPPORT OF PLAINTIFF
 WOMPLY’S OPPOSITION TO BENWORTH CAPITAL PARTNERS PR LLC’S AND
     BENWORTH CAPITAL PARTNERS LLC’S MOTIONS TO DISMISS

       I, Alexander L. Cheney, pursuant to 28 U.S.C. § 1746, hereby declare as follows:

       1.      I am a member of the bars of California and New York, am admitted pro hac vice

in the United States District Court for the District of Puerto Rico, and am an attorney at the law

firm of Willkie Farr & Gallagher, LLP, counsel for Plaintiff Oto Analytics, LLC, d/b/a Womply

(f/k/a Oto Analytics, Inc.) (“Womply”).

       2.      I respectfully submit this declaration in support of Womply’s Opposition to

Defendant Benworth Capital Partners PR LLC’s and Defendant Benworth Capital Partners LLC’s

(“Benworth FL”) Motions to Dismiss in the above-captioned action.

       3.      In the JAMS arbitration between Womply and Benworth FL, JAMS Ref. No.

1210038203, the fact hearing was held on March 20–28, 2023, and closing arguments are

scheduled for June 15, 2023.
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       4.      Attached hereto as Exhibit 1 is a true and correct copy of an email thread between

counsel for Womply and counsel for Benworth FL and Defendant Bernardo Navarro, dated April 5

to April 13, 2023.

       5.      Attached hereto as Exhibit 2 is a true and correct copy of a certified English

translation of the Puerto Rico Supreme Court’s decision in Sucesión Almazán v. López, 20 P.R.

Dec. 537, 1914 WL 5079 (1914).

       6.      Attached hereto as Exhibit 3 is a true and correct copy of an official English

translation of the Puerto Rico Supreme Court’s decision in De Jesus Díaz v. Carrero, 112 P.R.

Dec. 631, 12 P.R. Offic. Trans. 786 (1982), which was obtained from Westlaw.

       Executed this 24th day of April 2023 in San Francisco, California.

                                                           /s/_Alexander L. Cheney_________
                                                           Alexander L. Cheney




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